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                                                                                               U.S. DISTRICT COURT
                                                                                                   N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

JAMES S ANDREWS,                                }
                                                }
       Plaintiff,                               }
                                                }
v.                                              }        Case No.: 2:09-CV-00646-RDP
                                                }
ANDERSON CRENSHAW &                             }
ASSOCIATES, L.L.C., et al.                      }
                                                }
       Defendants.

                           ORDER AND ENTRY OF JUDGMENT

       This matter is before the court on the Stipulation for Consent Judgment (Doc. # 32), filed by

the remaining parties to this action, Plaintiff James Andrews and Defendant Anderson, Crenshaw

& Associates, L.L.C. In accordance with the parties' Stipulation, the court hereby enters FINAL

JUDGMENT in favor of Plaintiff, James Andrews and against Defendant, Anderson, Crenshaw &

Associates, LLC in the amount of $100,000.00, plus court costs agreed upon by the parties. For all

sums awarded hereunder, let execution issue.

       It is further ORDERED that L. Jackson Young and the firm of Ferguson, Frost & Dodson,

L.L.P., and Steven R. Dunn and The Dunn Law Firm are hereby TERMINATED as counsel for

Defendant Anderson, Crenshaw & Associates, L.L.C. in this matter.

       DONE and ORDERED this             28th        day of July, 2010.


                                                     ___________________________________
                                                     R. DAVID PROCTOR
                                                     UNITED STATES DISTRICT JUDGE
